Case 3:19-cv-01226-L-AHG     Document 93       Filed 09/21/22   PageID.8376      Page 1 of
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      his official capacity as Attorney General of
  9   the State of California, and Blake Graham,
      in his official capacity as Acting Director of
 10   the Department of Justice Bureau of
      Firearms
 11
                        IN THE UNITED STATES DISTRICT COURT
 12
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 13
 14
 15
 16   Matthew Jones, et al.,                       3:19-cv-01226-L-AHG
 17                                    Plaintiffs, JOINT MOTION FOR
                                                   MODIFICATION OF
 18                v.                              SUPPLEMENTAL BRIEFING
                                                   SCHEDULE
 19
      Rob Bonta, in his official capacity as       Dept:         5B
 20   Attorney General of the State of
      California, et al.,                          Judge:        The Honorable M. James
 21                                                              Lorenz and Magistrate
                                    Defendants.                  Judge Allison H. Goddard
 22
                                                   Action
 23                                                Filed:        July 1, 2019
 24                                                First Amended Complaint
                                                   Filed:     July 30, 2019
 25
                                                   Second Amended Complaint
 26                                                Filed:    November 8, 2019
 27
 28

           Joint Motion for Modification of Supplemental Briefing Schedule (3:19-cv-01226-L-AHG)
Case 3:19-cv-01226-L-AHG     Document 93       Filed 09/21/22   PageID.8377      Page 2 of
                                           6


  1         Plaintiffs Matthew Jones, et al., and Defendants Rob Bonta (in his official
  2   capacity as Attorney General of the State of California) and Blake Graham (in his
  3   official capacity as Acting Director of the Department of Justice Bureau of
  4   Firearms), through their respective counsel of record and pursuant to Civil Local
  5   Rules 7.1 and 7.2, hereby jointly move the Court to extend all deadlines set forth in
  6   the Court’s September 13, 2022 supplemental briefing order, ECF No. 92, by three
  7   weeks.1 This motion is made in light of a prepaid vacation that counsel for
  8   Defendants has had scheduled for several months, which conflicts directly with the
  9   Court’s current supplemental briefing schedule. In addition, the requested
 10   modification will permit the parties additional time to address the important issue
 11   presented in the supplemental briefing order. This joint motion is supported by the
 12   declaration of Jennifer E. Rosenberg filed concurrently herewith.
 13                        RELEVANT PROCEDURAL HISTORY
 14         On September 13, 2022, following the Ninth Circuit’s issuance of its mandate
 15   in the interlocutory appeal of this Court’s order denying Plaintiffs’ motion for
 16   preliminary injunction, the Court issued an order directing the parties to submit
 17   supplemental briefs addressing the Supreme Court’s decision in New York State
 18   Rifle & Pistol Association, Inc. v. Bruen, 597 U.S. ____; 142 S.Ct. 2111 (2022). See
 19   ECF No. 92. In that supplemental briefing order, the Court directed Plaintiffs to
 20   submit supplemental briefing addressing the Supreme Court’s decision in Bruen by
 21   no later than September 30, 2022, and Defendants to submit a response addressing
 22   Plaintiffs’ supplemental brief and Bruen by no later than October 17, 2022. The
 23
 24         1
              Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Attorney
      General Rob Bonta is automatically substituted as a defendant in place of his
 25   predecessor, former Attorney General Xavier Becerra, and Acting Director Blake
      Graham is automatically substituted as a defendant in place of his predecessors,
 26   former Directors Luis Lopez and Martin Horan, and former Acting Director Brent
      E. Orick.
 27
 28
                                                  1
           Joint Motion for Modification of Supplemental Briefing Schedule (3:19-cv-01226-L-AHG)
Case 3:19-cv-01226-L-AHG     Document 93       Filed 09/21/22   PageID.8378      Page 3 of
                                           6


  1   supplemental briefing order also provides that Plaintiffs may file a reply by no later
  2   than October 31, 2022.2
  3    GOOD CAUSE EXISTS TO MODIFY THE SUPPLEMENTAL BRIEFING
                             SCHEDULE
  4
            Counsel for the parties conferred via telephone on September 20, 2022, and
  5
      agree that a modification of the supplemental briefing schedule set forth in the
  6
      Court’s September 13 order to continue all deadlines by three weeks is appropriate.
  7
      See Rosenberg Decl., ¶¶ 3-4.
  8
            First, lead counsel for Defendants, Ms. Jennifer Rosenberg, will be out of the
  9
      country on a long-scheduled, prepaid vacation from September 28 through October
 10
      12, 2022, returning to the office on October 14, 2022. Id., ¶¶ 2, 5.3 This time period
 11
      encompasses almost the entire time permitted for the Defendants to draft their
 12
      responsive brief under the current supplemental briefing schedule. See ECF No. 92
 13
      (setting October 17, 2022, as the current deadline for Defendants’ responsive brief).
 14
      In light of this conflict, it would be extremely difficult for Defendants to effectively
 15
      complete their supplemental brief on the current supplemental briefing schedule.
 16
      Rosenberg Decl. ¶¶ 6-8. Ms. Rosenberg has been the lead attorney in this matter
 17
      throughout the lifetime of this case—both in this Court and on appeal to the Ninth
 18
      Circuit—and is the attorney most familiar with the extensive procedural history and
 19
 20
            2
                On August 12, 2021, this Court granted the parties’ joint motion for a
 21   limited stay of all proceedings in this Court pending resolution of the interlocutory
      appeal in the Ninth Circuit. ECF No. 85. In that order, the Court directed the
 22   parties to meet and confer within 21 days after the Ninth Circuit’s issuance of the
      mandate, and to file a joint status report with the Court within 30 days after the
 23   Ninth Circuit’s issuance of the mandate. Id. The parties presume that the Court’s
      September 13, 2022 order directing the parties to file supplemental briefing
 24   regarding Bruen supersedes the Court’s August 2021 order directing the parties to
      file a joint status report. See Rosenberg Decl., ¶ 13. In the event that the Court did
 25   not intend for its September 13, 2022 order to supersede the dates set forth in its
      August 12, 2021 order, the parties respectfully request a modest extension of time
 26   on that deadline, as well, to permit the parties to further confer and draft a joint
      report after counsel for Defendants returns from her scheduled vacation. Id., ¶ 14.
 27           3
                Ms. Rosenberg scheduled this vacation before Defendants filed their
      petition for rehearing in the Ninth Circuit and before the Ninth Circuit issued its
 28   decision granting that petition and remanding to this Court. Id., ¶ 5.
                                                  2
           Joint Motion for Modification of Supplemental Briefing Schedule (3:19-cv-01226-L-AHG)
Case 3:19-cv-01226-L-AHG      Document 93       Filed 09/21/22   PageID.8379     Page 4 of
                                            6


  1   legal and factual issues in the case. Id., ¶ 2. In light of current case staffing, if the
  2   schedule is not continued, a new attorney unfamiliar with the present lawsuit would
  3   have to be brought in to prepare Defendants’ supplemental brief. Id., ¶ 8.
  4   Additional time is also necessary because several attorneys and stakeholders will be
  5   required to review and approve Defendants’ briefing submitted in this matter. Id.,
  6   ¶ 9. The parties agree that the requested modification of the supplemental briefing
  7   schedule is appropriate to permit Ms. Rosenberg to take her scheduled vacation and
  8   for Defendants to draft and file a thoughtful responsive brief after she returns to
  9   work. See id. ¶ 10.
 10         In addition, the requested modification will permit the parties additional time
 11   to address the important issue presented in the supplemental briefing order. Id.,
 12   ¶ 11. In light of the foregoing, it would benefit all parties and the Court to grant the
 13   parties’ joint motion for this limited modification of the supplemental briefing
 14   schedule. Id., ¶¶ 11-12.4
 15         WHEREFORE:
 16         The parties hereby jointly request that the Court issue an order extending by
 17   three weeks all deadlines set forth in the supplemental briefing schedule set forth in
 18
 19
            4
               The parties previously sought eight modifications of the Court’s original
 20   scheduling order, which the Court granted. The first modification moved all dates
      set forth in the Court’s original scheduling order by approximately 5 to 6 weeks; the
 21   second moved the fact discovery deadline from November 6, 2020 to December 15,
      2020; the third moved all dates out by approximately 2-3 months due to the denial
 22   of Plaintiffs’ motion for preliminary injunction and interlocutory appeal of that
      denial; the fourth extended the deadline for close of fact discovery; the fifth
 23   extended the deadlines for close of expert and fact discovery by a few weeks in
      light of the scheduling of oral argument on May 12, 2021 in the interlocutory
 24   appeal; the sixth extended all deadlines set forth in the operative scheduling orders
      in this matter by approximately 60-75 days in light of significant supplemental
 25   briefing mandated by the Ninth Circuit in the interlocutory appeal; the seventh
      extended all deadlines in the operative scheduling orders by approximately 14 days
 26   in order to permit all parties’ experts additional time necessary to complete their
      rebuttal expert reports, and the eighth modified all deadlines in the operative
 27   scheduling order in light of the parties’ joint motion for a limited stay of all
      proceedings pending resolution of the interlocutory appeal in the Ninth Circuit. See
 28   ECF Nos. 57, 58, 64, 65, 70, 71, 72, 73, 75, 76, 79, 80, 81, 82, 83, 84, & 85.
                                                   3
           Joint Motion for Modification of Supplemental Briefing Schedule (3:19-cv-01226-L-AHG)
Case 3:19-cv-01226-L-AHG      Document 93       Filed 09/21/22   PageID.8380     Page 5 of
                                            6


  1   the Court’s September 13, 2022 order, ECF No. 92, setting the following new
  2   deadlines:
  3            October 21, 2022: Plaintiffs’ supplemental brief addressing the Supreme
  4            Court’s decision in Bruen due;
  5            November 7, 2022: Defendants’ response addressing Plaintiffs’
  6            supplemental brief and Bruen due;
  7            November 21, 2022: Plaintiffs’ reply, if any, due.
  8
  9         A proposed order will be lodged with the Court concurrently with submission
 10   of this joint motion.
 11
      Dated: September 21, 2022                        Respectfully Submitted,
 12
                                                       ROB BONTA
 13                                                    Attorney General of California
                                                       MARK BECKINGTON
 14                                                    Supervising Deputy Attorney General
                                                       JOHN D. ECHEVERRIA
 15                                                    Deputy Attorney General
 16
                                                       _/s/ Jennifer E. Rosenberg________
 17                                                    JENNIFER E. ROSENBERG
                                                       Deputy Attorney General
 18                                                    Attorneys for Defendants Rob Bonta,
                                                       in his official capacity as Attorney
 19                                                    General of the State of California,
                                                       and Blake Graham, in his official
 20                                                    capacity as Acting Director of the
                                                       Department of Justice Bureau of
 21                                                    Firearms
 22
                                                       DILLON LAW GROUP, APC
 23
                                                       _/s/ John Dillon_________________
 24                                                    JOHN DILLON
                                                       Attorney for Plaintiffs
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           Joint Motion for Modification of Supplemental Briefing Schedule (3:19-cv-01226-L-AHG)
Case 3:19-cv-01226-L-AHG     Document 93       Filed 09/21/22   PageID.8381      Page 6 of
                                           6


  1      Certification re: Electronic Signatures Pursuant to Electronic Case Filing
              Administrative Policies and Procedures Manual, Section 2(f)(4)
  2
  3         I, Jennifer E. Rosenberg, hereby certify and attest that the content of this
  4   document is acceptable to all persons required to sign the document and that I have
  5   obtained authorization for use of the electronic signatures of all parties on the
  6   document, including Mr. John Dillon, Attorney for Plaintiffs.
  7
  8
      Dated: September 21, 2022
  9
 10
 11                                                   _/s/ Jennifer E. Rosenberg________
                                                      JENNIFER E. ROSENBERG
 12                                                   Deputy Attorney General
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           Joint Motion for Modification of Supplemental Briefing Schedule (3:19-cv-01226-L-AHG)
